           Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 1 of 31




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12                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     SHANA BECERRA,                             CASE NO. 17-cv-05916-WHA
15   individually and on behalf of a class of
     similarly situated persons,                DEFENDANT’S NOTICE OF MOTION AND
16                                              MOTION TO DISMISS FIRST AMENDED
                    Plaintiff,                  COMPLAINT
17
                                                SUPPORTING MEMORANDUM OF
18            v.                                POINTS AND AUTHORITIES
19   THE COCA-COLA COMPANY,                     Date:    February 8, 2018
                                                Time:    8 a.m.
20                  Defendant.                  Judge:   Hon. William Haskell Alsup
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                                                          DEFENDANT COCA-COLA’S MOTION TO
28                                                         DISMISS FIRST AMENDED COMPLAINT
                                                                             17-cv-05916-WHA
     112708327.3
           Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 2 of 31




 1                         NOTICE OF MOTION AND MOTION TO DISMISS

 2   TO THE COURT AND ALL PARTIES AND COUNSEL:

 3            PLEASE TAKE NOTICE that on February 8, 2018 at 8 a.m., or as soon thereafter as

 4   counsel may be heard, in the United States District Court, Northern District of California, San

 5   Francisco Division, located at 450 Golden Gate Avenue, Courtroom 12, San Francisco, CA 94102,

 6   before the Honorable William Haskell Alsup, Defendant The Coca-Cola Company will and hereby

 7   does move this Court for an order dismissing Plaintiff’s First Amended Complaint (“FAC”) in its

 8   entirety and with prejudice.

 9            This motion is made pursuant to Federal Rules of Civil Procedure 12(b)(6), and is based on

10   the following grounds: (1) Plaintiff’s claims are expressly preempted by the Federal Food, Drug,

11   and Cosmetic Act, 21 U.S.C. §§ 301 et seq., because Plaintiff seeks to impose requirements for food

12   labeling that are not identical to federal requirements; (2) Plaintiff’s consumer protection claims are

13   barred as a matter of law under California’s safe harbor doctrine because federal and state law

14   clearly permit the challenged conduct; and (3) Plaintiff has not stated a claim for breach of the

15   implied warranty of merchantability.

16            The Motion is based on this Notice of Motion and Motion to Dismiss, the Memorandum of

17   Points and Authorities and accompanying declarations, the FAC and all other pleadings on file in

18   this matter, and upon such other written and oral argument as may be presented to the Court.

19

20   Dated: January 16, 2018                      PATTERSON BELKNAP WEBB & TYLER LLP

21                                                SHOOK, HARDY & BACON LLP
22

23                                                By:     /s/ Steven A. Zalesin
                                                          Steven A. Zalesin (pro hac vice)
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                                                  Attorneys for The Coca-Cola Company
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                                                      i          DEFENDANT COCA-COLA’S MOTION TO
28                                                                DISMISS FIRST AMENDED COMPLAINT
                                                                                    17-cv-05916-WHA
     112708327.3
            Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 3 of 31




 1                                                          TABLE OF CONTENTS

 2                                                                                                                                               Page

 3   STATEMENT OF ISSUES TO BE DECIDED ..............................................................................1
 4   PRELIMINARY STATEMENT .....................................................................................................1
 5   BACKGROUND .............................................................................................................................2
 6             A.         The FDCA Preempts Most State Labeling Requirements That Are Not
                          Identical To Federal Law .........................................................................................2
 7
               B.         Federal Law Authorizes Use of the Word “Diet” on the Label of Diet
 8                        Coke .........................................................................................................................4
 9                        1.         Low Calorie Soft Drinks Marketed Prior to 1989 .......................................4
10                        2.         Low Calorie Soft Drinks and Foods Marketed After 1989..........................6
11                        3.         Application to Diet Coke .............................................................................8
12             C.         Plaintiff’s Allegations ..............................................................................................9
13   LEGAL STANDARD ....................................................................................................................11
14   ARGUMENT .................................................................................................................................11
15   I.        ALL OF PLAINTIFF’S CLAIMS ARE EXPRESSLY PREEMPTED ............................11
16             A.         Plaintiff’s Claims Seek to Impose Requirements That Are Not Identical to
                          Federal Law ...........................................................................................................11
17
               B.         The FDCA’s General Prohibition Against False or Misleading Label
18                        Claims Cannot Trump Its Specific Authorization of the Statement at Issue .........14
19             C.         Plaintiff May Not Use 21 C.F.R. § 1.21(a), Another General Provision, to
                          Evade FDCA Preemption ......................................................................................17
20
               D.         The Diet Coke Advertisements Referenced in the FAC Have No Bearing
21                        on the Preemption Analysis and Are Not Independently Actionable ....................18
22   II.       THE SAFE HARBOR DOCTRINE BARS PLAINTIFF’S CONSUMER
               PROTECTION CLAIMS ..................................................................................................19
23
     III.      PLAINTIFF’S BREACH OF IMPLIED WARRANTY CLAIM FAILS AS A
24             MATTER OF LAW ...........................................................................................................21
25   CONCLUSION ..............................................................................................................................22
26

27
                                                                             i                DEFENDANT COCA-COLA’S MOTION TO
28                                                                                             DISMISS FIRST AMENDED COMPLAINT
                                                                                                                 17-cv-05916-WHA
     112708327.3
           Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 4 of 31




 1                                                     TABLE OF AUTHORITIES
 2                                                                                                                                       Page(s)
 3   Cases
 4   Ashcroft v. Iqbal,
        556 U.S. 662 (2009) .......................................................................................................................11
 5
     Backus v. ConAgra Foods, Inc.,
 6
        2016 U.S. Dist. LEXIS 92355 (N.D. Cal. July 15, 2016) (Alsup, J.) ............................................12
 7
     Bohac v. Gen. Mills, Inc.,
 8      2014 U.S. Dist. LEXIS 41454 (N.D. Cal. Mar. 26, 2014) .............................................................21

 9   Bronson v. Johnson & Johnson, Inc.,
        2013 U.S. Dist. LEXIS 54029 (N.D. Cal. Apr. 16, 2013) .............................................................12
10
     Bruton v. Gerber Prods. Co.,
11
        961 F. Supp. 2d 1062 (N.D. Cal. 2013) .........................................................................................19
12
     Carrea v. Dreyer’s Grand Ice Cream, Inc.,
13      475 Fed. App’x. 113 (9th Cir. 2012) .......................................................................................11, 13

14   Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co.,
        973 P.2d 527 (Cal. 1999) .........................................................................................................20, 21
15
     Chacanaca v. Quaker Oats Co.,
16      752 F. Supp. 2d 1111 (N.D. Cal. 2010) ...................................................................................13, 15
17
     Coe v. Gen. Mills,
18      2016 U.S. Dist. LEXIS 105769 (N.D. Cal. Aug. 10, 2016)...........................................................15

19   Cruz v. Anheuser-Busch, LLC,
        2015 U.S. Dist. LEXIS 76027 (C.D. Cal. June 3, 2015) ...............................................................21
20
     Davis v. HSBC Bank Nevada, N.A.,
21      691 F.3d 1152 (9th Cir. 2012) .......................................................................................................20
22   Friedman v. Mercedes Benz USA LLC,
23      2013 U.S. Dist. LEXIS 191915 (C.D. Cal. Apr. 9, 2013) .............................................................19

24   Gitson v. Trader Joe’s Co.,
         2014 U.S. Dist. LEXIS 33936 (N.D. Cal. Mar. 14, 2014) .............................................................13
25
     Gorenstein v. Ocean Spray Cranberries, Inc.,
26      2010 U.S. Dist. LEXIS 143801 (C.D. Cal. Jan. 29, 2010) ............................................................15
27
                                                                         i                DEFENDANT COCA-COLA’S MOTION TO
28                                                                                         DISMISS FIRST AMENDED COMPLAINT
                                                                                                             17-cv-05916-WHA
     112708327.3
           Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 5 of 31




     Gustavson v. Wrigley Sales Co.,
 1      2014 U.S. Dist. LEXIS 1693 (N.D. Cal. Jan. 7, 2014) ..................................................................17
 2
     Gustavson v. Wrigley Sales Co.,
 3      961 F. Supp. 2d 1100 (N.D. Cal. 2013) .........................................................................................12

 4   Gutierrez v. Wells Fargo & Co.,
        2009 U.S. Dist. LEXIS 38113 (N.D. Cal. May 5, 2009) ...............................................................19
 5
     Guttmann v. Nissin Foods (U.S.A.) Co.,
 6      2015 U.S. Dist. LEXIS 92756 (N.D. Cal. July 15, 2015) ...................................................... passim
 7   Guttmann v. Nissin Foods (U.S.A.) Co.,
 8      2015 U.S. Dist. LEXIS 108217 (N.D. Cal. July 15, 2015) ............................................................21

 9   Ham v. Hain Celestial Grp., Inc.,
       70 F. Supp. 3d 1188 (N.D. Cal. 2014) ...........................................................................................19
10
     In re Quaker Oats Maple & Brown Sugar Instant Oatmeal Litig.,
11       2017 U.S. Dist. LEXIS 174394 (C.D. Cal. Oct. 10, 2017) ............................................................13
12   Lam v. Gen. Mills, Inc.,
        859 F. Supp. 2d 1097 (N.D. Cal. May 10, 2012) ...........................................................................13
13

14   Lucia v. Wells Fargo Bank, N.A.,
        798 F. Supp. 2d 1059 (N.D. Cal. 2011) .........................................................................................11
15
     Marcus v. Apple, Inc.,
16     2015 U.S. Dist. LEXIS 2140 (N.D. Cal. Jan. 8, 2015) ..................................................................21
17   Martin v. Medtronic, Inc.,
       2017 U.S. Dist. LEXIS 26350 (E.D. Cal. Feb. 24, 2017) ..............................................................20
18

19   McKinniss v. Sunny Delight Beverages Co.,
       2007 U.S. Dist. LEXIS 96108 (C.D. Cal. Sept. 4, 2010).................................................................8
20
     Moncada v. Allstate Ins. Co.,
21     471 F. Supp. 2d 987 (N.D. Cal. Dec. 20, 2006) .............................................................................19

22   Pardini v. Unilever United States, Inc.,
        2014 U.S. Dist. LEXIS 7900 (N.D. Cal. Jan. 22, 2014) ................................................................13
23
     Perez v. Nidek Co.,
24
        711 F.3d 1109 (9th Cir. 2013) .......................................................................................................12
25
     Peviani v. Hostess Brands, Inc.,
26      750 F. Supp. 2d 1111 (C.D. Cal. 2010) .........................................................................................13

27
                                                                      ii              DEFENDANT COCA-COLA’S MOTION TO
28                                                                                     DISMISS FIRST AMENDED COMPLAINT
                                                                                                         17-cv-05916-WHA
     112708327.3
            Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 6 of 31




     Red v. Kraft Foods, Inc.,
 1      2010 U.S. Dist. LEXIS 146647 (C.D. Cal. July 26, 2010) ............................................................16
 2
     Red v. Kroger Co.,
 3      2010 U.S. Dist. LEXIS 115238 (C.D. Cal Sept. 2, 2010)..................................................13, 14, 15

 4   Reid v. Johnson & Johnson,
        780 F.3d 952 (9th Cir. 2015) ...........................................................................................................2
 5
     Samet v. P&G,
 6      2013 U.S. Dist. LEXIS 86432 (N.D. Cal. June 18, 2013) .............................................................13
 7   Turek v. Gen. Mills, Inc.,
 8      662 F.3d 423 (7th Cir. 2011) .........................................................................................................14

 9   Viggiano v. Hansen Natural Corp.,
        994 F. Supp. 2d 877 (C.D. Cal. 2013) ...........................................................................................18
10

11   Statutes

12   21 U.S.C. § 343-1(a) ..............................................................................................................3, 5, 11, 13
13   21 U.S.C. § 343(a) ....................................................................................................................... passim
14   21 U.S.C. § 343(r) ........................................................................................................................ passim
15   Cal. Com. Code § 2314(2)(c) ...............................................................................................................21
16
     Cal. Com. Code § 2313(1) .....................................................................................................................9
17
     Cal. Com. Code § 2314(1) .....................................................................................................................9
18
     Consumer Legal Remedies Act (“CLRA”),
19      Cal. Civ. Code §§ 1750 et seq..............................................................................................9, 13, 19
20   False Advertising Law (“FAL”),
         Cal. Bus. and Prof. Code §§ 17500 et seq. ..........................................................................9, 13, 19
21

22   Federal Food, Drug and Cosmetic Act (“FDCA”),
        21 U.S.C. §§ 301 et seq.......................................................................................................... passim
23
     Sherman Food, Drug and Cosmetic Law,
24      Cal. Health & Safety Code §§ 10985 et seq ..................................................................................20

25   Unfair Competition Law (“UCL”),
        Cal. Bus. and Prof. Code §§ 17200 et seq. ..........................................................................9, 13, 19
26

27
                                                                         iii               DEFENDANT COCA-COLA’S MOTION TO
28                                                                                          DISMISS FIRST AMENDED COMPLAINT
                                                                                                              17-cv-05916-WHA
     112708327.3
            Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 7 of 31




     Regulations
 1
     21 C.F.R. § 1.21(a).........................................................................................................................17, 18
 2

 3   21 C.F.R. § 100.1(c)(4) ..........................................................................................................................4

 4   21 C.F.R. § 101.13 ....................................................................................................................... passim

 5   21 C.F.R. § 101.60(b) ............................................................................................................................6

 6   21 C.F.R. § 105.66 (1978) ........................................................................................................... passim

 7   21 C.F.R. § 105.66 ....................................................................................................................... passim
 8   21 C.F.R. § 172.804 .............................................................................................................................22
 9   Rules
10
     Federal Rule of Civil Procedure 12(b)(6) ............................................................................................11
11
     Other Authorities
12
     136 Cong. Rec. H5836-01 (July 30, 1990) ......................................................................................3, 14
13
     136 Cong. Rec. S16607 (Oct. 24, 1990) ................................................................................................3
14
     43 Fed. Reg. 43248 (Sept. 22, 1978) .....................................................................................................4
15
     46 Fed. Reg. 38285 (Jul. 24, 1981) ........................................................................................................8
16
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17
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18
     58 Fed. Reg. 2427 (Jan 6. 1993) ......................................................................................................7, 17
19
     58 Fed. Reg. 2462 (Jan. 6, 1993) ...........................................................................................................4
20
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21      the United States, WWW.FDA.GOV, available at
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23
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24
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26

27
                                                                          iv               DEFENDANT COCA-COLA’S MOTION TO
28                                                                                          DISMISS FIRST AMENDED COMPLAINT
                                                                                                              17-cv-05916-WHA
     112708327.3
            Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 8 of 31




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11

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                                                                             v                DEFENDANT COCA-COLA’S MOTION TO
28                                                                                             DISMISS FIRST AMENDED COMPLAINT
                                                                                                                 17-cv-05916-WHA
     112708327.3
           Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 9 of 31




 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2                              STATEMENT OF ISSUES TO BE DECIDED

 3            1.     Are Plaintiff’s state-law claims, which seek to impose food labeling requirements that

 4   differ from those imposed by the Federal Food, Drug and Cosmetic Act, expressly preempted by that

 5   statute?

 6            2.     Does California’s safe harbor doctrine bar Plaintiff’s consumer protection challenge

 7   to food labeling practices that are clearly permitted by federal and state law?

 8            3.     Has Plaintiff plausibly alleged that Diet Coke is unfit for the ordinary purpose for

 9   which it is used?

10                                     PRELIMINARY STATEMENT

11            The Federal Food, Drug and Cosmetic Act (“FDCA”) establishes uniform definitions for

12   terms that commonly appear on food labels throughout the United States. One such term is “diet,”

13   which the statute and its implementing regulations define to mean “low calorie or reduced calorie.”

14   In addition to dictating this general definition, the FDCA contains a separate provision that explicitly

15   permits use of the term “diet” in the brand name of a low calorie soft drink.

16            This straightforward definition of “diet” is consistent with longstanding industry usage and

17   consumer understanding of that term. Diet Coke, the product at issue in this case, has been on the

18   U.S. market for 35 years, during which time it has gained almost universal recognition among

19   consumers as a low calorie alternative to Coca-Cola’s traditional cola.           The term “diet” also

20   identifies numerous other low calorie soft drinks, in Coca-Cola’s portfolio and throughout the

21   beverage industry. Indeed, the ubiquity of “diet” soft drinks, and those products’ familiarity to

22   consumers, is a primary reason that Congress expressly authorized use of the term “diet” to identify

23   this category of low calorie products.

24            Plaintiff Shana Becerra nevertheless seeks to impose a new definition of “diet,” and to

25   prevent Coca-Cola from calling its iconic product “Diet Coke.” Plaintiff does not dispute that Diet

26   Coke is a zero calorie beverage that satisfies the FDCA definition of a “diet” soft drink. Rather, she

27   alleges that recent scientific studies cast doubt on the proposition that artificial sweeteners such as
                                                      1           DEFENDANT COCA-COLA’S MOTION TO
28                                                                 DISMISS FIRST AMENDED COMPLAINT
                                                                                     17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 10 of 31




 1   the aspartame used in Diet Coke “contribute to healthy weight management.” (FAC ¶ 48) Plaintiff

 2   thus alleges that Coca-Cola’s use of the term “diet” violates the FDCA’s broad prohibition on food

 3   label statements that are “false or misleading.” And because it purportedly breaches this overarching

 4   FDCA duty, Plaintiff alleges, the name “Diet Coke” also violates California’s consumer protection

 5   statutes and warranty laws.      She seeks, on behalf of herself and other California purchasers,

 6   restitution and an injunction requiring Coca-Cola to abandon its decades-old brand name.

 7            Plaintiff’s outlandish request is expressly preempted by federal law.           In enacting the

 8   Nutrition Labeling and Education Act of 1990 (“NLEA”), Congress determined that it was essential

 9   that food labels be uniform throughout the Nation, and that state and local authorities not impose

10   labeling standards or definitions that differ from federal requirements.          To that end, Congress

11   empowered a single federal agency, the U.S. Food and Drug Administration (“FDA”), to adopt

12   uniform definitions of common food labeling terms. And it expressly preempted individual states,

13   including courts acting under color of state law, from imposing food-labeling requirements that are

14   not identical to most federal requirements. Where, as here, the FDCA provides a uniform definition

15   for a term such as “diet,” a private litigant may not seek to utilize state law to redefine that term.

16            Nor can Plaintiff use the FDCA’s prohibition of “false or misleading” label claims to evade

17   preemption. This Court has previously rejected similar attempts to turn this general proscription into

18   an end-run around the statute’s preemptive effect. The result can be no different here. In addition to

19   being expressly preempted, Plaintiff’s claims run afoul of California’s safe harbor doctrine, which

20   bars consumer protection claims that challenge conduct explicitly authorized by statute or regulation.

21   And her allegations fail as a matter of law to state a claim for breach of the implied warranty of

22   merchantability. The FAC should be dismissed in its entirety.

23                                              BACKGROUND

24            A.     The FDCA Preempts Most State Labeling Requirements That Are Not Identical
25                   To Federal Law

26            The NLEA amended the FDCA to “establish uniform food labeling requirements”

27   throughout the United States. Reid v. Johnson & Johnson, 780 F.3d 952, 959 (9th Cir. 2015)
                                                       2            DEFENDANT COCA-COLA’S MOTION TO
28                                                                   DISMISS FIRST AMENDED COMPLAINT
                                                                                       17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 11 of 31




 1   (internal quotation marks omitted).       As a result of the NLEA’s passage, the FDCA and its

 2   implementing regulations impose a comprehensive “scheme governing labels on food products,” to

 3   the exclusion of non-identical state or local requirements. Guttmann v. Nissin Foods (U.S.A.) Co.,

 4   2015 U.S. Dist. LEXIS 92756, at *5 (N.D. Cal. July 15, 2015) (Alsup, J.).

 5             In enacting the NLEA, Congress sought to establish “consistent, enforceable rules pertaining

 6   to the claims that may be made with respect to the benefits of nutrients in foods.” H.R. No. 101-538,

 7   at 7-8 (1990). Uniform nationwide rules, Congress determined, would help consumers “make sense

 8   of the confusing array of nutrition labels that confront [them] every time they enter the

 9   supermarket.” 136 Cong. Rec. H5836-01 (July 30, 1990) (statement of Rep. Waxman).

10             In order to ensure the rules’ uniformity, Congress deemed it necessary to “prevent state and

11   local governments from adopting inconsistent requirements … with respect to the claims that may be

12   made about nutrients in foods.” H.R. No. 101-538, at 8. Congress did not act lightly in forcing

13   states out of the business of food-label regulation. Rather, it authorized FDA to commission the U.S.

14   Institute of Medicine to study the issue in depth and catalogue the various state laws that the FDCA

15   would displace. See Institute of Medicine, Food Labeling: Toward National Uniformity, National

16   Academy Press (Washington D.C. 1992).             Ultimately, Congress concluded that preempting

17   inconsistent state requirements would be “fair to both consumers and industry,” because a uniform

18   interstate scheme would require “disclosure of all valid and relevant information to the consumer,

19   while providing the industry with uniformity of law … that will permit them to conduct their

20   business of food distribution in an efficient and cost-effective manner.”       See 136 Cong. Rec.

21   H5836-01 (July 30, 1990) (statement of Rep. Madigan); see also 136 Cong. Rec. S16607 (Oct. 24,

22   1990) (“It is wrong to permit each of the 50 States to require manufacturers … to display different

23   health and diet information on identical products sold throughout this country.”) (statement of Sen.

24   Hatch).

25             In accordance with this goal, the FDCA provides that no state “may directly or indirectly

26   establish … any requirement … that is not identical to the requirement[s]” of various food-labeling

27   provisions of the statute. 21 U.S.C. § 343-1(a)(1)-(5) (emphasis added). A state requirement is
                                                      3           DEFENDANT COCA-COLA’S MOTION TO
28                                                                 DISMISS FIRST AMENDED COMPLAINT
                                                                                     17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 12 of 31




 1   preempted if it “imposes obligations” that “[d]iffer from those specifically imposed by or contained

 2   in the applicable provision (including any implementing regulation).” 21 C.F.R. § 100.1(c)(4)

 3   (emphasis added). This federal preemption scheme reflects Congress’s considered judgment that

 4   “the net benefits from national uniformity in these aspects of the food label outweigh the loss in

 5   consumer protection that may occur as a result.” 58 Fed. Reg. 2462, 2462 (Jan. 6, 1993).

 6            B.     Federal Law Authorizes Use of the Word “Diet” on the Label of Diet Coke

 7            Both the FDCA itself and its implementing regulations authorize use of the term “diet” on

 8   low calorie soft drinks such as Diet Coke. The statute provides that low calorie soft drinks marketed

 9   prior to 1989 (as was Diet Coke) may continue to use the term “diet” in their brand names, so long

10   as they satisfied the FDA regulation applicable to “diet” claims in force at that time. Current FDA

11   regulations, meanwhile, provide that a soft drink marketed after 1989 may be labeled as “diet” if it

12   satisfies the present-day regulation governing use of that term. While there are some differences

13   between the pre-1989 regulation and the current one, the definition of “diet” has not changed: FDA

14   has consistently defined the term to refer to a food with low or reduced calorie content. Because it

15   meets this simple standard, Diet Coke is properly labeled as “diet” under federal law.

16                   1.     Low Calorie Soft Drinks Marketed Prior to 1989

17            FDA first defined the term “diet” in 1978, more than a decade before the NLEA was enacted.

18   It did so after finding that a “common standard” for such label designations could assist consumers

19   in managing their dietary intake. See 43 Fed. Reg. 43248, 43257 (Sept. 22, 1978). To achieve this

20   objective, FDA adopted a straightforward definition of “diet” as “suggesting usefulness as [a] low

21   calorie or reduced calorie food[],” and imposed clear standards for the latter two terms. 21 C.F.R. §
                                   1
22   105.66(c), (d), (e) (1978).       It then authorized use of the term “diet” on products that qualified as

23   “low calorie” or “reduced calorie” and were labeled as such. Id. This regulation was in effect when,

24   in 1982, Coca-Cola introduced Diet Coke, the low calorie analogue to its flagship cola product. (See

25   FAC ¶¶ 1, 11) Other low calorie soft drinks branded as “diet” soon followed.

26   1
       At that time, FDA regulations permitted a food to be identified as “low calorie” if it contained
27   fewer than 40 calories per serving and 0.4 calories per gram. See 21 C.F.R. § 105.66(c) (1978).
                                                         4           DEFENDANT COCA-COLA’S MOTION TO
28                                                                    DISMISS FIRST AMENDED COMPLAINT
                                                                                        17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 13 of 31




 1            By the time the NLEA amendments were enacted in 1990, “diet” had become so ubiquitous

 2   on low calorie soft drinks that Congress gave manufacturers of those products explicit statutory

 3   license to continue to use that term. Section 343(r)(2)(D) of the FDCA provides that, subject to the

 4   general prohibition on false or misleading labeling, a “soft drink” may use the term “diet” if (1) the

 5   term is part of the product’s brand name; (2) that brand name was in use prior to October 25, 1989;

 6   and (3) “the use of the term ‘diet’ was in conformity with section 105.66”—the regulation defining

 7   “diet”—at that time. 21 U.S.C. § 343(r)(2)(D) (emphasis added). Congress thus provided that,

 8   while FDA might change the definition of “diet” in the future, pre-1989 soft drinks whose labels

 9   complied with the 1989 definition were “grandfathered” and could continue to use the term. At the

10   same time, Congress gave preemptive effect to Section 343(r), which encompasses the

11   “grandfathering” provision and governs all “nutrient content” claims.          21 U.S.C. §§ 343(r);

12   343-1(a)(5).

13            The context of the “grandfathering” provision makes clear that it was specifically intended to

14   codify FDA’s original definition of “diet” for pre-1989 soft drinks.             Section 343(r)(2)(D)

15   immediately follows a parallel provision that—again subject to the general prohibition on false or

16   misleading labeling—authorizes any claim relating to nutrient content that is part of a product’s

17   brand name where (1) the name was in use before October 25, 1989; and (2) it does not “use[] terms

18   which are defined in the regulations of the [FDA].” 21 U.S.C. §§ 343(r)(2)(C), 343(r)(2)(A)(i). This

19   provision did not cover Diet Coke because “diet” had already been defined by FDA regulation as

20   “suggesting usefulness as [a] low calorie or reduced calorie food[].” 21 C.F.R. § 105.66(e) (1978).

21   Congress’s decision to adopt a separate “grandfathering” provision for diet soft drinks, and to

22   reference FDA’s then-current definition of “diet” in that provision, reflects its approval of that

23   definition when used on soft drinks.

24            The reference in Section 343(r)(2)(D) to the FDCA’s general prohibition on “false or

25   misleading” labeling does not undermine or weaken that endorsement, but simply provides a

26   safeguard against improper manipulation of the “grandfathering” scheme.             See 21 U.S.C. §

27   343(r)(2)(D) (providing that “diet” claims on soft drinks are “subject to paragraph [343](a)”); §
                                                      5           DEFENDANT COCA-COLA’S MOTION TO
28                                                                 DISMISS FIRST AMENDED COMPLAINT
                                                                                     17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 14 of 31




 1   343(a) (prohibiting food labels that are “false or misleading in any particular”). Section 343(r)(2)(D)

 2   permits use of the term “diet” on any soft drink whose label “was in conformity” with the FDA

 3   definition as of 1989. The current FDA regulation implementing the provision confirms that “diet”

 4   is a permissible descriptor for a soft drink that used the term as part of its brand name before October

 5   1989, and “whose use of that term was in compliance with § 105.66 . . . on that date.” 21 C.F.R. §

 6   101.13(q)(2) (emphasis added).           Accordingly, absent the general prohibition on “false or

 7   misleading” labeling, these provisions could be read to permit such a beverage to retain the “diet”

 8   name indefinitely, even if its calorie content increased and it ceased to qualify as a low or reduced

 9   calorie product. Section 343(r)(2)(D)’s incorporation of Section 343(a) prevents manufacturers from

10   engaging in such manipulation.

11                       2.     Low Calorie Soft Drinks and Foods Marketed After 1989

12            Although Section 343(r)(2)(D) made FDA’s original definition of “diet” permanently

13   applicable to pre-1989 diet soft drinks irrespective of subsequent changes to the definition, no such

14   changes have actually been adopted.           After passage of the NLEA amendments, FDA issued

15   numerous new regulations, including a revised version of Section 105.66—but left its longstanding

16   definition of “diet” undisturbed. The amended Section 105.66, issued in 1993, continues to define

17   “diet” as a term “suggesting usefulness as [a] low calorie or reduced calorie food[].” 21 C.F.R. §
                   2
18   105.66(e).        FDA’s decision to re-affirm its definition of “diet” after passage of the NLEA was the

19   result of careful consideration. The agency explained in a 1991 Notice of Proposed Rulemaking that

20   its original definition “provide[d] for the term ‘diet’ for use when a food is represented as being

21   useful in reducing caloric intake or maintaining body weight,” and that the term “ha[d] often been

22   used on foods that are virtually free of calories, such as specially formulated soft drinks.” 56 Fed.

23   Reg. 60421, 60438 (Nov. 27, 1991) (emphasis added). Aware of this widespread use, FDA opted for

24
     2
       FDA did, however, make minor revisions to the underlying definitions of “low calorie” and
25   “reduced calorie” in the 1993 amendments. Under current FDA regulations, a food qualifies as “low
26   calorie” if it (1) has a “reference amount customarily consumed” of greater than 30 grams; and (2) it
     does not provide more than 40 calories per reference amount customarily consumed. See 21 C.F.R.
27   §§ 105.66(c), 101.60(b)(2).
                                                         6          DEFENDANT COCA-COLA’S MOTION TO
28                                                                   DISMISS FIRST AMENDED COMPLAINT
                                                                                       17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 15 of 31




 1   continuity with respect to the term. Responding to a request for guidance from the soft drink

 2   industry regarding post-NLEA standards, it explained that “the agency [was] continuing to define the

 3   term ‘diet’ in its regulation, specifically in § 105.66,” and that soft drinks introduced after 1989

 4   could use the term so long as they were “in conformity with” that definition. 58 Fed. Reg. 2302,

 5   2313 (Jan. 6, 1993). FDA further noted that all diet soft drinks then on the market—of which Diet

 6   Coke was the most prominent example—met that standard. It expressly stated that it was unaware

 7   of “any instances whereby line extensions for ‘diet’ soft drinks would not be in conformity with §
                    3
 8   105.66.” Id.

 9            The updated version of Section 105.66 did reflect some revisions from the prior version,

10   including a proviso that terms such as “diet” could not be used if they were false or misleading. 21

11   C.F.R. § 105.66(e). But once again, this proviso simply prohibits foods that do not satisfy the

12   definition of “diet” from being labeled as though they do. FDA made that purpose clear when

13   promulgating the regulation. Using formulated meal replacements (another product governed by

14   Section 105.66) as an example, FDA explained that “if a food that is not a formulated meal

15   replacement purported on its label to be a formulated meal replacement … FDA would consider

16   the food to be [improperly labeled].” It then clarified that the new proviso would permit FDA “to

17   take action against any food that uses terms such as ‘diet’ … in this manner.” 58 Fed. Reg. 2427,

18   2428 (Jan 6. 1993) (emphases added).          Accordingly, as in Section 343(r)(2)(D), the qualifier

19   regarding “false or misleading” claims complements the definition of “diet” by limiting the term’s

20   use to products that actually satisfy the regulatory definition.

21

22
     3
23     FDA’s continued endorsement of “diet” as communicating “low or reduced calorie” is also
     consistent with the lay understanding of that term. Many popular dictionaries define “diet,” the
24   adjective, as low in calories or sugar, and some specifically refer to its common use on soft drinks.
     See, e.g., Diet, New Oxford American Dictionary (3d ed.) (“[as modifier] (of food or drink) with
25   reduced fat or sugar content: diet soft drinks”); Diet (adj.), Merriam-Webster’s Collegiate
26   Dictionary (11th ed.) (“1: reduced in or free from calories <a diet soft drink>”); Diet (adj), The
     American Heritage Dictionary of the English Language (5th ed.) (“2a. Having fewer calories. b.
27   Sweetened with a non-caloric sugar substitute.”).
                                                       7            DEFENDANT COCA-COLA’S MOTION TO
28                                                                   DISMISS FIRST AMENDED COMPLAINT
                                                                                       17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 16 of 31




 1                   3.     Application to Diet Coke

 2            Section 343(r)(2)(D) of the FDCA authorizes the term “diet” for pre-1989 low calorie soft

 3   drinks. At the same time, FDA regulations specify that (1) pre-1989 soft drinks may use the term if,

 4   on October 25, 1989, their labels complied with Section 105.66 “as that regulation appeared in the

 5   Code of Federal Regulations on that date”; and (2) soft drinks “marketed after October 25, 1989

 6   may use the term … provided they are in compliance with the current [Section] 105.66 of this

 7   chapter.” 21 C.F.R. § 101.13(q)(2) (emphases added).

 8            Each of these provisions constitutes a separate and independent authorization of Diet Coke’s

 9   brand name. At the time Section 343(r)(2)(D) was enacted, Diet Coke had been on the market for

10   seven years. Then, as now, Diet Coke contained zero calories per serving, and in accordance with

11   the requirements of Section 105.66, was labeled as low calorie. See Declaration of Edward Ryan
                                                                      4
12   (“Ryan Decl.”) Ex. A; see also 21 C.F.R. § 105.66(c), (e) (1978). Diet Coke also complied with the

13   separate regulatory requirement that all foods using the term “diet” include on their labels certain

14   general nutritional information. See 21 C.F.R. § 105.66(a) (1978). Diet Coke’s use of “diet” in its

15   brand name is thus permitted under the “grandfathering” provision of Section 343(r)(2)(D) and its

16   implementing regulation.

17            Diet Coke’s brand name is also permitted by 21 C.F.R. § 101.13(q)(2), which provides for

18   use of the term “diet” on post-1989 soft drinks that comply with the current requirements of Section

19   105.66. Those requirements are substantially the same as the ones that applied in 1989, and Diet
                                                                                                       5
20   Coke’s current label complies with them. See Ryan Decl., Ex. B; see also 21 C.F.R. § 105.66(e).

21
     4
22    Product labels that are referenced and relied upon in a complaint may properly be considered on a
     motion to dismiss. See McKinniss v. Sunny Delight Beverages Co., 2007 U.S. Dist. LEXIS 96108, at
23   *9-10 n.1 (C.D. Cal. Sept. 4, 2010); Guttmann, 2015 U.S. Dist. LEXIS 92756, at *5 n.1.
     5
24     Section 105.66(b), which imposes labeling requirements for food made with “nonnutritive
     ingredients,” does not apply to Diet Coke because, among other reasons, aspartame is classified as a
25   nutritive sweetener. See 46 Fed. Reg. 38285 (Jul. 24, 1981) (describing aspartame as a “nutritive
     sweetener”); Additional Information about High-Intensity Sweeteners Permitted for use in Food in
26   the United States, WWW.FDA.GOV (“[A]spartame, the only approved nutritive high-intensity
     sweetener, contains more than two percent of the calories in an equivalent amount of sugar.”). Nor
27   does Section 105.66(d), which governs comparative “reduced calorie” claims, apply to Diet Coke,
                                                    8           DEFENDANT COCA-COLA’S MOTION TO
28                                                                DISMISS FIRST AMENDED COMPLAINT
                                                                                    17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 17 of 31




 1            C.       Plaintiff’s Allegations

 2            Plaintiff does not allege that Diet Coke fails to satisfy FDA’s definition of “diet” as “low

 3   calorie or reduced calorie.” Rather, she contends that the FDCA’s general prohibition on “false or

 4   misleading” label statements gives private litigants like her carte blanche to impose an entirely

 5   different definition of that term. She claims that Coca-Cola’s use of the term “diet” suggests not

 6   only that Diet Coke is low in calories, but that it will, in some unspecified manner, “assist in weight

 7   loss . . . or healthy weight management.” (FAC ¶ 15) She also claims that Coca-Cola “reinforces

 8   this message” through its advertisements— though the three advertising images she cites do not refer

 9   even obliquely to weight management, and she does not claim to have read or relied on them when

10   purchasing Diet Coke. (FAC ¶ 16)

11            Plaintiff maintains that this implicit message regarding “weight management” is false

12   because—according to her interpretation of the available scientific evidence—artificial sweeteners

13   such as aspartame “interfere with the body’s ability to properly metabolize calories” and may “lead[]

14   to weight gain and increased risk of metabolic disease, diabetes, and cardiovascular disease.” (FAC

15   ¶ 2) She thus asks the Court to disregard the FDCA definition of “diet,” and to find that the name

16   Diet Coke is false or misleading because it does not live up to her understanding of what a “diet”

17   beverage should be. On this basis, Plaintiff seeks damages and injunctive relief on behalf of herself

18   and other California consumers under California’s Unfair Competition Law (“UCL”) (Cal. Bus. and

19   Prof. Code §§ 17200 et seq.), False Advertising Law (“FAL”) (Cal. Bus. and Prof. Code §§ 17500 et

20   seq.), Consumer Legal Remedies Act (Cal. Civ. Code §§ 1750 et seq.) (“CLRA”), and its express

21   warranty and implied warranty of merchantability laws (California Commercial Code §§ 2313(1);
                   6
22   2314(1)).

23

24   since Diet Coke’s label does not include a statement comparing its calorie content to that of any
     other product.
25   6
       The same day she filed this case, Plaintiff also filed complaints against Pepsico and Dr. Pepper
26   Snapple Group, asserting substantially similar claims in connection with those companies’ diet soft
     drinks. See Becerra v. Pepsico, Inc., 17-cv-5918 (N.D. Cal.) (filed Oct. 16, 2017); Becerra v. Dr.
27   Pepper Snapple Group, Inc., 17-cv-5921 (N.D. Cal.) (filed Oct. 16, 2017).
                                                     9           DEFENDANT COCA-COLA’S MOTION TO
28                                                                DISMISS FIRST AMENDED COMPLAINT
                                                                                    17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 18 of 31




 1            As a factual matter, the scientific evidence on which Plaintiff relies is (charitably) equivocal.

 2   None of the studies cited in the FAC evaluates the effects of aspartame specifically, let alone of Diet

 3   Coke.     Every one of the studies that observes some correlation between artificial sweetener

 4   consumption and weight gain cautions against an inference of causation, and a few express outright
                                             7
 5   skepticism of any causal connection.        Perhaps for these reasons, Plaintiff’s theory has not gained

 6   widespread acceptance among public health authorities: the U.S. Centers for Disease Control and

 7   Prevention (“CDC”), for example, recommends “diet[] or low-calorie beverages” as helpful for
                                                        8
 8   managing caloric intake and controlling weight.

 9            But the Court need not delve into the facts of this scientific “controversy” because Plaintiff’s

10   claims are, in any event, barred by law. Congress and FDA have defined “diet” in a manner that

11   differs from Plaintiff’s construction of that term. Diet Coke unquestionably satisfies the federally-

12   prescribed meaning of “diet,” and the FDCA expressly preempts any attempt to use state law to

13   impose a different definition. California’s safe harbor rule likewise bars Plaintiff’s challenge to

14   conduct that federal law explicitly permits. And her claim for breach of the implied warranty of

15
     7
16     See, e.g., Sharon P. Fowler et al., “Fueling the Obesity Epidemic? Artificially Sweetened Beverage
     Use and Long-Term Weight Gain,” Obesity, Vol. 16, No. 8, 1894-1900 (Aug. 2008) (noting that
17   increased reliance on diet soft drinks by “individuals already on weight-gain trajectories” was “the
     most obvious possible explanation” for possible correlation between diet soft drink consumption and
18   weight gain) (cited at FAC ¶ 25 and n.7); Rebecca J. Brown et al., “Artificial Sweeteners: A
     Systematic Review of Metabolic Effects in Youth,” Int’l J. of Ped. Obesity, Vol. 5, No. 4, 305-12
19   (Aug. 2010) (noting that “the jury remains out regarding a possible role of increased artificial
20   sweetener use” in the increased prevalence of obesity and diabetes) (cited at FAC ¶ 20 and n.2); see
     also Richard D. Mattes and Barry M. Popkin, “Nonnutritive Sweetener Consumption in Humans:
21   Effects on Appetite and Food Intake and Their Putative Mechanisms,” Am. J. Clin. Nutr., Vol. 89,
     No. 1, 1-14 (Jan. 2009) (observing that “intervention trials consistently fail to document that
22   [artificial sweeteners] promote weight gain, and observational studies provide only equivocal
     evidence that they might”) (cited at FAC ¶ 19 and n.1); Meghan B. Azad et al., “Nonnutritive
23
     sweeteners and cardiometabolic health: a systematic review and meta-analysis of randomized
24   controlled trials and prospective cohort studies,” Can. Med. Ass’n J., Vol. 189, No. 28, 929-39 (July
     2017) (noting “limited evidence for the effect of [artificial] sweeteners on BMI.”) (cited at FAC ¶ 2
25   and n. 10). See Declaration of Jane Metcalf, Exs. A-D.
     8
26      See “Rethink Your Drink,” Centers for Disease Control and Prevention, available at
     https://www.cdc.gov/healthyweight/healthy_eating/drinks.html (last visited January 16, 2018)
27   (suggesting “water, diet, or low-calorie beverages instead of sugar-sweetened beverages”).
                                                       10           DEFENDANT COCA-COLA’S MOTION TO
28                                                                   DISMISS FIRST AMENDED COMPLAINT
                                                                                       17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 19 of 31




 1   merchantability is deficient as a matter of law. The FAC should thus be dismissed.

 2                                           LEGAL STANDARD

 3            To avoid dismissal under Rule 12(b)(6), “a complaint must contain sufficient factual matter,

 4   accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

 5   662, 678 (2009) (internal quotation marks omitted). “Threadbare recitals of the elements of a cause

 6   of action, supported by mere conclusory statements, do not suffice”; instead, the plaintiff must

 7   “plead[] factual content that allows the court to draw the reasonable inference that the defendant is

 8   liable for the misconduct alleged.” Id. Dismissal is warranted when the plaintiff fails to articulate a

 9   viable theory of recovery. Lucia v. Wells Fargo Bank, N.A., 798 F. Supp. 2d 1059, 1072 n.4 (N.D.

10   Cal. 2011).

11                                               ARGUMENT

12   I.       ALL OF PLAINTIFF’S CLAIMS ARE EXPRESSLY PREEMPTED

13            A.     Plaintiff’s Claims Seek to Impose Requirements That Are Not Identical to
                     Federal Law
14

15            Diet Coke’s label is authorized by the FDCA and its implementing regulations because (1)

16   the product satisfied the definition of “diet” in 1989 and (2) it satisfies that definition today. See 21

17   U.S.C. § 343(r)(2)(D); 21 C.F.R. §§ 101.13(q)(2), 105.66(e). Plaintiff, however, seeks to use

18   California law to impose additional requirements for the use of the term. She maintains that Diet

19   Coke may be labeled as “diet” only if she is satisfied that its consumption will contribute to “healthy

20   weight management.” (FAC ¶ 48)

21            Plaintiff’s claims are expressly preempted. The FDCA squarely bars state or local food-

22   labeling requirements that are “not identical” to most federal requirements. 21 U.S.C. § 343-1(a).

23   The Ninth Circuit has thus held that a private plaintiff may not “seek[] to enjoin and declare

24   unlawful the very statement that federal law permits and defines.” Carrea v. Dreyer’s Grand Ice

25   Cream, Inc., 475 Fed. App’x. 113, 115 (9th Cir. 2012). In Carrea, the plaintiff asserted that the

26   claim “0g Trans Fat” was misleading when used on a product that, in fact, contained a small amount

27   of trans fat. The court held that the “0g Trans Fat” claim was, like “diet,” a “nutrient content claim”
                                                      11           DEFENDANT COCA-COLA’S MOTION TO
28                                                                  DISMISS FIRST AMENDED COMPLAINT
                                                                                      17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 20 of 31




 1   governed by Section 343(r) and that, accordingly, the plaintiff could not use state law to “impose a

 2   burden … that is not identical to the requirements under Section 343(r).” Id. The court further

 3   concluded that the plaintiff’s claim would impose such a burden, because FDA regulations expressly

 4   permit products containing less than 0.5 grams of trans fat per serving to express their trans-fat

 5   content as zero. Id. The claim was thus preempted. Id.; see also Perez v. Nidek Co., 711 F.3d 1109,

 6   1118-19 (9th Cir. 2013) (finding claim expressly preempted because the plaintiff “effectively

 7   [sought] to write in a new provision to the FDCA”).

 8            This Court has likewise dismissed consumer protection claims that seek to impose additional

 9   requirements for the use of terms defined by Section 343(r). In Guttmann v. Nissin Foods Co., 2015

10   U.S. Dist. LEXIS 92756, at *6-9 (N.D. Cal. July 15, 2015) (Alsup, J.), the Court, citing Carrea,

11   dismissed a claim alleging that the statement “0g Trans Fat” was false and misleading in light of the

12   presence of a small amount of trans fat. The Court emphasized that the challenged statement was

13   “governed by Section 343(r)” and accompanying “FDA … regulations,” and that “[s]tates are

14   expressly preempted from establishing requirements for food labeling that are inconsistent with

15   those requirements”—such as, in that case, a requirement that trace amounts of trans fat be

16   disclosed. Id. at *5-6. Similarly, in Backus v. ConAgra Foods, Inc., 2016 U.S. Dist. LEXIS 92355

17   (N.D. Cal. July 15, 2016) (Alsup, J.), the plaintiff challenged the claim “70% Less Saturated Fat”—

18   which was likewise permitted by 21 C.F.R. § 101.13, the FDA regulation implementing Section

19   343(r)—but which the plaintiff argued was misleading because the product contained large amounts

20   of artificial trans fat. This Court found that the plaintiff’s complaint sought to “impose an obligation

21   not imposed by the applicable [FDCA] provision,” and was therefore preempted. Id. at *12-13.

22            Numerous other courts in this District have reached the same result. See, e.g., Bronson v.

23   Johnson & Johnson, Inc., 2013 U.S. Dist. LEXIS 54029, at *13 (N.D. Cal. Apr. 16, 2013) (challenge

24   to antioxidant label claims preempted where the “label at issue fulfills each of the labeling

25   requirements for antioxidant claims” set out in regulations promulgated pursuant to Section 343(r));

26   Gustavson v. Wrigley Sales Co., 961 F. Supp. 2d 1100, 1123 (N.D. Cal. 2013) (“Because

27   [defendant’s] calorie-related claims appear to comply with all applicable federal regulations, any
                                                     12           DEFENDANT COCA-COLA’S MOTION TO
28                                                                 DISMISS FIRST AMENDED COMPLAINT
                                                                                     17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 21 of 31




 1   finding that these claims are unlawful and deceptive would impose requirements not identical to the

 2   FDA’s regulations”); Samet v. P&G, 2013 U.S. Dist. LEXIS 86432, at *20 (N.D. Cal. June 18,

 3   2013) (“Express preemption is especially appropriate where the practice identified by the plaintiff is

 4   explicitly governed by either the FDCA or its regulations, and the defendant is in compliance with
                              9
 5   those requirements.”).

 6            This principle governs here. Diet Coke’s brand name is explicitly authorized by both Section

 7   343(r), the FDCA section governing “nutrient content” claims, and 21 C.F.R. § 101.13, which

 8   implements that section through regulation. 21 U.S.C. § 343(r)(2)(D); 21 C.F.R. § 101.13(q)(2).

 9   Both have preemptive effect. 21 U.S.C. § 343-1(a)(5). Plaintiff’s attempt to use state law to

10   “impose a burden … that is not identical to the[se] requirements” is preempted. Carrea, 475 Fed.
                     10
11   App’x at 115.

12            As this Court has held, the FDCA’s preemption clause bars even challenges to claims that—

13
     9
14     See also Lam v. Gen. Mills, Inc., 859 F. Supp. 2d 1097, 1103 (N.D. Cal. 2012) (holding that FDCA
     and FDA regulations expressly preempted plaintiff’s claim challenging “fruit flavored” and
15   “naturally flavored” statements because statements complied with regulations governing such
     claims); Gitson v. Trader Joe’s Co., 2014 U.S. Dist. LEXIS 33936, at *41 (N.D. Cal. Mar. 14, 2014)
16   (collecting cases) (“Courts have routinely found express preemption in the food-misbranding context
     when a plaintiff has attempted to sue over conduct that does not violate the FDCA or its
17   accompanying regulations.”); Chacanaca v. Quaker Oats Co., 752 F. Supp. 2d 1111, 1114 (N.D.
     Cal. 2010) (because “0 grams trans fat” constitutes a nutrient content claim, it is covered by Section
18   343(r), which implicates the FDCA’s express preemption provision); see also Peviani v. Hostess
     Brands, Inc., 750 F. Supp. 2d 1111, 1119-20 (C.D. Cal. 2010) (finding express preemption where
19   plaintiff’s state-law claims sought to impose an obligation for trans fat disclosure that was not
     required by federal law ); Red v. Kroger Co., 2010 U.S. Dist. LEXIS 115238, at *4-7 (C.D. Cal Sept.
20   2, 2010) (finding express preemption where defendant’s products were compliant with FDCA
     regulations); In re Quaker Oats Maple & Brown Sugar Instant Oatmeal Litig., 2017 U.S. Dist.
21   LEXIS 174394, at *17 (C.D. Cal. Oct. 10, 2017) (same).
     10
22      Federal law preempts not only plaintiff’s FAL, UCL, and CLRA claims, but her breach of express
     and implied warranty of merchantability claims as well. See Guttmann v. Nissin Foods (U.S.A.) Co.,
23   2015 U.S. Dist. LEXIS 92756, at *9 (N.D. Cal. July 15, 2015) (Alsup, J.) (dismissing breach of
     express warranty claim as expressly preempted by FDA regulations); Pardini v. Unilever United
24   States, Inc., 2014 U.S. Dist. LEXIS 7900, at *26 (N.D. Cal. Jan. 22, 2014) (finding warranty claims
     arising out of serving-size and nutrient claims to be preempted); Chacanaca, 752 F. Supp. 2d at
25   1118 (“The Supreme Court has clarified that, in the context of express preemption provisions, the
26   term ‘requirements’ reaches beyond positive enactments like statutes and regulations, to embrace
     common-law duties and judge-made rules.” (citing Bates v. Dow Agrosciences, LLC, 544 U.S. 431,
27   443 (2005)).
                                                     13          DEFENDANT COCA-COLA’S MOTION TO
28                                                                DISMISS FIRST AMENDED COMPLAINT
                                                                                    17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 22 of 31




 1   like “0g Trans Fat” on a product that contains some trans fat—are arguably literally false.

 2   Guttmann, 2015 U.S. Dist. LEXIS 92756, at *9. Here, Plaintiff’s assertion that Diet Coke’s label is

 3   “misleading” rests on her interpretation of tentative and contradictory scientific evidence: as noted

 4   in one of the studies she cites, “the jury remains out” on the question of a relationship between diet
                                                11
 5   soft drink consumption and weight gain.         If private plaintiffs were permitted to use state law to

 6   rewrite food-labeling rules on the basis of such nascent scientific theories, those rules would be

 7   subject to constant change and confusing interstate variation, as differing courts arrived at differing

 8   interpretations of the science. This would sabotage Congress’s overarching goal of “uniformity of

 9   law … [to] permit [manufacturers] to conduct their business of food distribution in an efficient and

10   cost-effective manner.” See 136 Cong. Rec. H5836-01 (July 30, 1990) (statement of Rep. Madigan).

11            Moreover, even if Plaintiff could demonstrate that her proposed conditions for “diet” soft

12   drinks would be consistent with, or complement, federal standards, that would not enable her to

13   circumvent the FDCA’s preemptive force. “[C]onsistency is not the test; identity is.” Turek v. Gen.

14   Mills, Inc., 662 F.3d 423, 427 (7th Cir. 2011); see also Red v. Kroger Co., 2010 U.S. Dist. LEXIS

15   115238, at *19 (where “FDA regulations specifically define the phrases at issue,” they “do[] not

16   present a situation in which FDA regulations provide a ‘floor’ upon which states can build.”). All

17   that matters is that Plaintiff’s proposed standards are different from the FDCA’s. They are and, for

18   that reason, they are barred.

19            B.     The FDCA’s General Prohibition Against False or Misleading Label Claims
                     Cannot Trump Its Specific Authorization of the Statement at Issue
20

21            Plaintiff does not dispute that Diet Coke, which contains zero calories per serving, satisfies

22   the FDCA’s definition of a “diet” soft drink as a “low calorie or reduced calorie” food. She relies

23   instead on the statute’s general prohibition against “false or misleading” claims, which is

24   incorporated or referenced by the provisions governing the term “diet” and which, she claims,

25   11
        Rebecca J. Brown et al., “Artificial Sweeteners: A Systematic Review of Metabolic Effects in
26   Youth,” Int’l J. of Ped. Obesity, Vol. 5, No. 4, 305-12 (Aug. 2010) (Metcalf Decl., Ex. B) (noting
     that “the jury remains out regarding a possible role of increased artificial sweetener use in the
27   obesity and diabetes epidemics”) (cited at FAC ¶ 20 n.2).
                                                      14           DEFENDANT COCA-COLA’S MOTION TO
28                                                                  DISMISS FIRST AMENDED COMPLAINT
                                                                                      17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 23 of 31




 1   supersedes those provisions’ authorization of the term’s use on low calorie soft drinks. 21 U.S.C.

 2   §343(r)(2)(D); 21 C.F.R. § 101.13(q)(2); see also FAC ¶¶ 42-43. In other words, she maintains that

 3   this general prohibition renders the FDCA definition of “diet” vulnerable to displacement by any

 4   state-law plaintiff who formulates a theory that the definition is inadequate.

 5            Plaintiff is wrong. Numerous courts, including this one, have held that “a statement cannot

 6   be ‘false or misleading’ under Section 343(a) where the challenged conduct is expressly …

 7   permitted by FDA regulations.” Coe v. Gen. Mills, 2016 U.S. Dist. LEXIS 105769, at *11 (N.D.

 8   Cal. Aug. 10, 2016) (internal quotation marks and citation omitted). This is true even where, as

 9   here, the provision governing the statement incorporates or references the FDCA’s broad bar of

10   “false or misleading” claims. Thus, in Guttmann, 2015 U.S. Dist. LEXIS 92756, at *7-8—the case

11   involving a “0g Trans Fat” claim on a product with a small amount of trans fat—this Court rejected a

12   virtually identical argument based on the FDCA regulation governing “nutrient content” claims. See

13   id. (citing § 101.13(i)(3)). The relevant regulation, like the provisions at issue here, set forth clear

14   parameters for claims about the level of a nutrient in a product, then immediately followed those

15   parameters with the proviso that such claims could not be “false or misleading in any respect.” See

16   21 C.F.R. § 101.13(i)(3). The Court noted that the “0g trans fat” statement complied both with the

17   parameters for “nutrient content” statements and with a separate provision clarifying that less than

18   0.5g of trans fat per serving must be “expressed as zero” on product nutrition labels. Id. at *6-7

19   (citing Chacanaca, 752 F. Supp. 2d at 1118). It therefore dismissed the plaintiff’s claims, finding

20   that even the express ban on “false or misleading” nutrient content claims could not be read to strip

21   these more specific provisions of their preemptive force. Id. at *7-8.

22            Other courts have reached the same conclusion, emphasizing that it would “eviscerate the

23   strict preemption requirements” of the FDCA if its proscription of “false or misleading” statements

24   overrode its pronouncements on specific labeling terms. Gorenstein v. Ocean Spray Cranberries,

25   Inc., 2010 U.S. Dist. LEXIS 143801, at *1, 4 (C.D. Cal. Jan. 29, 2010) (challenge to juice label

26   preempted where defendant’s description of its juice “complie[d] with all requirements of federal

27   law.”). In Red v. Kroger Co., 2010 U.S. Dist. LEXIS 115238, the court dismissed a challenge to a
                                                      15          DEFENDANT COCA-COLA’S MOTION TO
28                                                                 DISMISS FIRST AMENDED COMPLAINT
                                                                                     17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 24 of 31




 1   “cholesterol free” statement; there, as in Guttmann, the plaintiff relied on the regulatory provision

 2   prohibiting “false or misleading” claims about nutrient content. See id. at *10-11 (citing 21 C.F.R. §

 3   101.13(i)(3)). The court noted that the FDCA contained detailed requirements for use of the term

 4   “cholesterol free” and that the products’ compliance with those requirements “directly undermine[d]

 5   Plaintiff’s argument that Defendant’s use of [the term] [wa]s ‘false and misleading.’” Id. at *13. To

 6   hold otherwise, the court concluded, would effectively place the requirements governing the use of

 7   “cholesterol free” “beyond the [FDCA’s] express pre-emption provision”:

 8                     Given that federal regulations specify when the term[] “cholesterol
                       free” can be used, Defendant’s compliance with those regulations
 9                     cannot be deemed to be “false and misleading.” … While both 21
                       U.S.C. § 343(a) and 21 C.F.R. § 101.13(i)(3) prohibit labels from
10                     being “false or misleading” or from characterizing nutrient levels in a
                       “false or misleading” way, 21 U.S.C. § 343(r) and accompanying
11                     regulations describe, in detail, nutrient content claims that are
                       permitted under federal law and, therefore, by definition, are not
12                     considered “false or misleading” under federal law.

13   Id. at *13-15 (emphasis added); see also Red v. Kraft Foods, Inc., 2010 U.S. Dist. LEXIS 146647, at

14   *7 (C.D. Cal. July 26, 2010) (“Plaintiffs cannot rely on the ‘false and misleading provision’ to avoid

15   the fact that they are seeking to impose a different requirement than any that are set out in

16   § 101.62(d).”).

17            So too here, Section 343(r) and its accompanying regulations describe “in detail” when

18   products may be represented as “diet” soft drinks, and define “diet” as synonymous with “low

19   calorie or reduced calorie.” See 21 U.S.C. § 343(r)(2)(D); 21 C.F.R. §§ 101.13(q)(2), 105.66(e).

20   Product labels that comply with these provisions, as Diet Coke’s label does, are “by definition” not

21   false or misleading. Red v. Kroger, 2010 U.S. Dist. LEXIS 115238, at *15.

22            Plaintiff’s contrary argument is especially implausible in view of the context of the “false or

23   misleading” qualifier, which makes clear that its purpose was to prevent the use of “diet” claims on

24   full calorie products. As set forth in Background Section B(1), supra, absent the proviso, the

25   “grandfathering” provisions applicable to pre-1989 diet soft drinks would authorize all such products

26   to be branded “diet” in perpetuity, as long as they had complied with the FDCA in 1989. See 21

27   U.S.C. § 343(r)(2)(D); 21 C.F.R. § 101.13(q)(2).         The sensible reading of the proviso in the
                                                       16          DEFENDANT COCA-COLA’S MOTION TO
28                                                                  DISMISS FIRST AMENDED COMPLAINT
                                                                                      17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 25 of 31




 1   “grandfathering” provision is that it was meant to prevent that type of abuse—not, as Plaintiff urges,

 2   to strip the remainder of the provision of all effect.

 3            Indeed, when FDA amended Section 105.66 in 1993 and added the “false or misleading”

 4   qualifier to that regulation, it confirmed that the qualifier’s purpose was simply to prevent higher

 5   calorie products from purporting to be “diet” foods.         As discussed above, FDA explained in

 6   comments to the regulation that the amendments would permit the agency to “take action against any

 7   food that use[d] terms such as ‘diet’” yet was not what it “purported on its label” to be. 58 Fed. Reg.

 8   2427, 2428 (Jan 6. 1993). But FDA also retained, after careful consideration, the definition of “diet”

 9   as “suggesting usefulness as [a] low calorie or reduced calorie [food].” 21 C.F.R. § 105.66(e).

10   Plaintiff would have the Court interpret the “false or misleading” qualifier as a loophole that allows

11   private litigants to use state law to displace this federally-prescribed definition of “diet.” There is no

12   basis in law or reason for that result. Plaintiff cannot use the FDCA prohibition on “false or

13   misleading” claims to sidestep preemption.

14            C.     Plaintiff May Not Use 21 C.F.R. § 1.21(a), Another General Provision, to Evade
                     FDCA Preemption
15

16            Plaintiff’s alternative suggestion that Diet Coke’s label violates 21 C.F.R. § 1.21(a), a

17   separate FDA regulation, because it does not disclose that “the aspartame in Diet Coke can lead to

18   weight gain” is unavailing for similar reasons. (FAC ¶ 45) Section 1.21(a), like 21 U.S.C. § 343(a),

19   is a catch-all provision against misleading labels, and provides that a food label may be unlawful “if

20   it fails to reveal facts that are … [m]aterial in light of other representations” on the label, or

21   otherwise “[m]aterial with respect to consequences which may result from use.” But both Section

22   343(r)(2)(D) and Section 105.66 enumerate what “material” facts must be disclosed alongside a

23   “diet” claim: a soft drink bearing such a claim must contain a “low calorie” or “reduced calorie”

24   disclosure. See 21 U.S.C. § 343(r)(2)(D); 21 C.F.R. § 105.66(e). Because the FDCA and its

25   implementing regulations permit the term “diet” and specify the disclosures that must accompany it,

26   the general language of Section 1.21(a) cannot be used to impose additional disclosure

27   requirements. See Gustavson v. Wrigley Sales Co., 2014 U.S. Dist. LEXIS 1693, at *30 (N.D. Cal.
                                                       17          DEFENDANT COCA-COLA’S MOTION TO
28                                                                  DISMISS FIRST AMENDED COMPLAINT
                                                                                      17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 26 of 31




 1   Jan. 7, 2014) (holding that the absence of a disclosure alongside a claim that the FDCA “expressly

 2   allow[s]” cannot “possibly be an actionable omission under Section 1.21”). Plaintiff’s attempt to
                                                              12
 3   impose such a requirement is therefore preempted.

 4            D.    The Diet Coke Advertisements Referenced in the FAC Have No Bearing on the
                    Preemption Analysis and Are Not Independently Actionable
 5

 6            Plaintiff’s throwaway reference in the FAC to three Diet Coke print advertisements of

 7   unknown provenance does nothing to alter the conclusion that all of her claims are preempted.

 8   (FAC ¶ 16) As set forth above, the FDCA expressly preempts challenges to Coca-Cola’s use of the

 9   word “diet” in the brand name for Diet Coke. Plaintiff’s unremarkable observation that the brand

10   name also appears in advertisements has no bearing on that fact.

11            To the extent that Plaintiff contends that the advertisements independently convey

12   misleading messages regarding weight loss, and seeks to premise her consumer protection claims on

13   those messages, her allegations are plainly insufficient.           Though she describes the ads as

14   “emphasiz[ing] [Diet Coke’s] beneficial effects on body weight and composition,” all of the

15   descriptive text in the cited ads pertains solely to the undisputed fact that Diet Coke is free of sugar

16   and calories. (FAC ¶ 16) (describing product variously as “no calories”, “0% Calories”, and “no
                             13
17   sugar, no calories”).        Accordingly, Plaintiff’s allegations do not support her conclusory statement

18   that the ads emphasize “body weight and composition.”

19            Moreover, even if the ads did convey misleading messages, Plaintiff could not assert

20   12
        In any event, Congress has specified what disclosures are necessary regarding health risks in
21   connection with nutrient content claims, and has exempted pre-1989 soft drinks from those
     requirements. See 21 U.S.C. § 343(r)(2)(B) (specifying disclosures that are required when a food
22   contains a nutrient at a level that increases health risks); § 343(r)(2)(D) (providing that those
     disclosure requirements “do[] not apply” to diet soft drinks). By seeking a disclosure that Diet Coke
23   “leads to weight gain,” Plaintiff is attempting to impose just such a requirement.
     13
24      The remaining phrases and slogans—“all curves,” “100% Love,” and “Regret Nothing”—are not
     susceptible of being proven true or false, and are therefore not actionable. “The Ninth Circuit has
25   held that ‘generalized, vague and unspecific assertions constitut[e] mere ‘puffery’ upon which a
26   reasonable consumer [cannot] rely.’” Viggiano v. Hansen Natural Corp., 944 F. Supp. 2d 877, 894
     (C.D. Cal. 2013) (quoting Glen Holly Entm’t, Inc. v. Tektronix, Inc., 343 F.3d 1000, 1015 (9th Cir.
27   2003)).
                                                         18          DEFENDANT COCA-COLA’S MOTION TO
28                                                                    DISMISS FIRST AMENDED COMPLAINT
                                                                                        17-cv-05916-WHA
     112708327.3
           Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 27 of 31




 1   consumer protection claims arising from them, because she does not allege that she ever saw these

 2   ads—let alone that she relied on them when deciding to purchase Diet Coke. Indeed, the FAC

 3   contains no allegations regarding when or where the ads appeared, so it is not even clear that they

 4   ran in the United States or within the statute-of-limitations period.

 5            These omissions preclude Plaintiff from asserting consumer protection claims arising from

 6   the ads.      It is well settled that a “party does not have standing to challenge statements or

 7   advertisements that she never saw.” Ham v. Hain Celestial Grp., Inc., 70 F. Supp. 3d 1188, 1197

 8   (N.D. Cal. 2014); see also Bruton v. Gerber Prods. Co., 961 F. Supp. 2d 1062, 1091 (N.D. Cal.

 9   2013), rev’d in part on other grounds, 2017 U.S. App. LEXIS 6756 (9th Cir, Apr. 19, 2017)

10   (holding that plaintiff “does not have standing to assert claims based on advertisements … she did

11   not view personally”). This Court has accordingly dismissed consumer protection and breach of

12   warranty claims arising from supposedly misleading marketing materials that the plaintiff did not

13   claim to have seen. See Gutierrez v. Wells Fargo & Co., 2009 U.S. Dist. LEXIS 38113, at *15

14   (N.D. Cal. May 5, 2009) (Alsup, J.) (dismissing CLRA claim where plaintiff “did not read or rely on

15   any advertising or marketing material” and thus “has not established reliance or causation regarding

16   any challenged [] advertising and marketing materials.”); see also Friedman v. Mercedes Benz USA

17   LLC, 2013 U.S. Dist. LEXIS 191915, at *12 (C.D. Cal. Apr. 9, 2013) (there can be no “actual

18   reliance” if “the purchaser never saw the advertisement”); Moncada v. Allstate Ins. Co., 471 F.

19   Supp. 2d 987, 997 (N.D. Cal. Dec. 20, 2006) (dismissing breach of warranty claim for lack of

20   reliance where there is “no evidence that [plaintiffs] actually read or relied upon the representations

21   on the [web]site”). The result can be no different here. Plaintiff’s desultory reference to three Diet

22   Coke ads, which do not refer to weight loss and which she does not claim to have seen prior to her

23   purchases, cannot salvage her consumer protection or breach of warranty claims.

24   II.      THE SAFE HARBOR DOCTRINE BARS PLAINTIFF’S CONSUMER
              PROTECTION CLAIMS
25
26            Plaintiff’s UCL, FAL and CLRA claims are also barred by California’s safe harbor doctrine,

27   which precludes application of these consumer protection statutes to conduct that a statute or
                                                      19           DEFENDANT COCA-COLA’S MOTION TO
28                                                                  DISMISS FIRST AMENDED COMPLAINT
                                                                                      17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 28 of 31




 1   regulation “clearly permit[s].” Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 973 P.2d 527, 541

 2   (Cal. 1999). Both state and federal laws, including federal regulations, can create safe harbors. See

 3   Martin v. Medtronic, Inc., 2017 U.S. Dist. LEXIS 26350, at *48 (E.D. Cal. Feb. 24, 2017) (noting

 4   that the safe harbor rule “applies both to actions by the California legislature and actions by the U.S.

 5   Congress”); Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1166 n.3 (9th Cir. 2012)

 6   (“California intermediate courts agree with our conclusion that [federal] regulations can create safe

 7   harbors.”).

 8            Where Congress or a federal agency “has permitted certain conduct or considered a situation

 9   and concluded no action should lie, courts may not override that determination” through application

10   of California’s consumer protection laws. Cel-Tech, 973 P.2d at 541. The safe harbor doctrine has

11   been held to bar consumer protection claims that, like Plaintiff’s, arise from conduct authorized by

12   FDA pursuant to its statutory authority under the FDCA. See, e.g., Martin, 2017 U.S. Dist. LEXIS

13   26350, at *49 (“To the extent that plaintiff’s UCL claim challenges conduct previously authorized

14   by the FDA during the [pre-market approval] process, FDA approval of [defendant’s] labeling brings

15   plaintiff’s claims within the California safe harbor provision.”).

16            Here, the conduct of which Plaintiff complains is expressly permitted by several statutes and

17   regulations. First, Section 343(r)(2)(D) of the FDCA provides that a low calorie soft drink such as

18   Diet Coke, whose brand name included the word “diet” prior to October 25, 1989, may continue to

19   be labeled as such so long “the use of the term ‘diet’ was in conformity with section 105.66” at that

20   time. 21 U.S.C. § 343(r)(2)(D). No clearer statutory “permission” is possible.

21            Second, FDA regulations implementing Section 343(r) provide for the same “grandfathering”

22   for pre-1989 soft drinks, and further provide that post-1989 low calorie soft drinks may use the term

23   “diet.” See 21 C.F.R. §§ 101.13(q)(2), 105.66(e). Diet Coke falls within both of these regulatory

24   authorizations. Third, the conduct is permitted by California’s Sherman Food, Drug and Cosmetic

25   Law, which adopts the provisions of the FDCA and its implementing regulations, including those

26   cited above, as the law of the state. See Cal. Health & Safety Code §§ 109875 et seq.

27            Thus Congress, FDA, and the California legislature have each “considered [the] situation”
                                                      20           DEFENDANT COCA-COLA’S MOTION TO
28                                                                  DISMISS FIRST AMENDED COMPLAINT
                                                                                      17-cv-05916-WHA
     112708327.3
            Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 29 of 31




 1   cited in Plaintiff’s FAC, “permitted [the] conduct” in question, and “concluded no action should lie.”

 2   Cel-Tech, 973 P.2d at 541. The California safe harbor doctrine therefore bars Plaintiff’s consumer
                          14
 3   protection claims.

 4   III.     PLAINTIFF’S BREACH OF IMPLIED WARRANTY CLAIM FAILS AS A MATTER
              OF LAW
 5

 6            Not only are all of Plaintiff’s claims expressly preempted, her claim for breach of the implied

 7   warranty of merchantability fails for an additional reason: she has not plausibly alleged that Diet

 8   Coke is not “fit for the ordinary purposes for which such goods are used,” as the statute requires.

 9   Cal. Com. Code § 2314(2)(c). To establish this element of an implied-warranty claim, a plaintiff

10   must plead that the product “lack[ed] ‘even the most basic degree of fitness for ordinary use.’”

11   Guttmann, 2015 U.S. Dist. LEXIS 108217, at *6 (Alsup, J.) (quoting Mocek v. Alfa Leisure, Inc.,

12   114 Cal. App. 4th 402, 406 (Cal. Ct. App. 2003)). An allegation that the goods failed to “precisely

13   fulfill the expectations of the buyer” is insufficient; instead, the plaintiff must plausibly allege that

14   the product failed to achieve “a minimum level of quality.” Marcus v. Apple, Inc., 2015 U.S. Dist.

15   LEXIS 2140, at *24 (N.D. Cal. Jan. 8, 2015) (Alsup, J.) (internal quotation marks and citation

16   omitted).

17            In cases involving food products, this Court has interpreted this standard to require an

18   allegation that the product was not “fit for human consumption.” Guttmann, 2015 U.S. Dist. LEXIS

19   92756, at *12; see also Bohac v. Gen. Mills, Inc., 2014 U.S. Dist. LEXIS 41454, at *32 (N.D. Cal.

20   Mar. 26, 2014) (dismissing breach of implied warranty claim where plaintiff “has not, for example,
                                                                     15
21   alleged that the products were not edible or contaminated.”).        Here, Plaintiff has alleged only that

22
     14
        At least one court has extended the California safe harbor doctrine to breach of warranty claims
23   arising out of the same conduct as consumer protection claims. See Cruz v. Anheuser-Busch, LLC,
     2015 U.S. Dist. LEXIS 76027, at *19 (C.D. Cal. June 3, 2015) (where challenged label was
24   approved by Alcohol and Tobacco Tax and Trade Bureau, plaintiff’s claims—including claim for
     breach of express warranty—fell within safe harbor and failed “on this basis alone”). While this
25   result makes perfect sense, this Court need not reach the issue here because Plaintiff’s warranty
     claims are expressly preempted and suffer from other deficiencies.
26
     15
       In Guttmann, this Court initially allowed the implied warranty claim to proceed because FDA had
27   concluded that “no form of partially-hydrogenated oil,” the ingredient at issue in that case, “was
                                                    21          DEFENDANT COCA-COLA’S MOTION TO
28                                                                  DISMISS FIRST AMENDED COMPLAINT
                                                                                      17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 30 of 31




 1   Diet Coke may “lead[] to weight gain”—a charge could be made of most food products sold in the

 2   United States. (FAC ¶ 2) And her allegation that she would consider purchasing Diet Coke in the

 3   future “as a treat” belies any suggestion that it is unfit for human consumption. (FAC ¶ 56)

 4            Even if Plaintiff had alleged that aspartame was unfit for human consumption, such an

 5   allegation would lack plausibility in light of FDA regulations endorsing aspartame’s safety. See 21

 6   C.F.R. § 172.804 (“[A]spartame may be safely used in food in accordance with good manufacturing

 7   practice as a sweetening agent and a flavor enhancer[.]”); Additional Information about High-

 8   Intensity Sweeteners Permitted for use in Food in the United States, WWW.FDA.GOV (“Aspartame is

 9   one of the most exhaustively studied substances in the human food supply, with more than 100
                                         16
10   studies supporting its safety.”).        Thus, even assuming that Diet Coke failed to satisfy Plaintiff’s

11   expectations, she has not alleged and cannot allege that Coca-Cola breached the implied warranty of

12   merchantability. Her implied warranty claim must be dismissed for this reason as well.

13                                                  CONCLUSION

14            Plaintiff seeks to impose requirements for the labeling of “diet” soft drinks that differ from

15   those imposed by federal law, displacing the standards that have governed Diet Coke and countless

16   other low calorie soft drinks for decades. Her claims are therefore preempted. In addition, her

17   consumer protection claims are barred by California’s safe harbor doctrine, and she cannot state a

18   claim for breach of the implied warranty of merchantability. The FAC should be dismissed in its

19   entirety. Because the deficiencies are not curable, the dismissal should be with prejudice and

20   without leave to amend.

21

22

23

24
     ‘generally recognized as safe.’” 2015 U.S. Dist. LEXIS 92756, at *11 (quoting 80 Fed. Reg. 34650
25   (June 17, 2015)). Here, by contrast, FDA has taken the exact opposite position with respect to both
     diet soft drinks and aspartame, the sweetening ingredient in Diet Coke.
26   16
      Available at       https://www.fda.gov/food/ingredientspackaginglabeling/foodadditivesingredients/
27   ucm397725.htm
                                                         22          DEFENDANT COCA-COLA’S MOTION TO
28                                                                    DISMISS FIRST AMENDED COMPLAINT
                                                                                        17-cv-05916-WHA
     112708327.3
          Case 3:17-cv-05916-WHA Document 44 Filed 01/16/18 Page 31 of 31




 1   Dated: January 16, 2018
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                                              23            DEFENDANT COCA-COLA’S MOTION TO
28                                                           DISMISS FIRST AMENDED COMPLAINT
                                                                               17-cv-05916-WHA
     112708327.3
